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COURT OF APPEALS



THIRTEENTH DISTRICT OF TEXAS



CORPUS CHRISTI - EDINBURG  


                                                                                                                      


KIRK WAYNE MCBRIDE, SR., 	Appellant,


v.


TEXAS DEPARTMENT OF CRIMINAL JUSTICE -

CORRECTIONAL INSTITUTIONAL DIVISION, 	Appellee.

                                                                                                                      


On appeal from the 36th District Court of Bee County, Texas.

                                                                                                                      


MEMORANDUM OPINION


Before Chief Justice Valdez and Justices Yañez and BenavidesMemorandum Opinion by Chief Justice Valdez


	Appellant, Kirk Wayne McBride, Sr., proceeding pro se and in forma pauperis, filed
a lawsuit against the Texas Department of Criminal Justice-Correctional Institutional
Division (the "Department") complaining of the outcome of a disciplinary proceeding that
resulted from a routine cell search.  By two issues, appellant contends the trial court erred
in dismissing his claims as frivolous under chapter 14 of the Texas Civil Practice and
Remedies Code.  See Tex. Civ. Prac. &amp; Rem. Code Ann §§ 14.001-.014 (Vernon 2002). 
Finding no abuse of discretion, we affirm. (1)  

I.  BACKGROUND

	Appellant was charged with a prison disciplinary action. (2)  After exhausting his
administrative remedies challenging the finding of guilt, appellant sought judicial review of
the decision of the administrative agency or body to uphold its guilt finding.  See Tex.
Gov't. Code Ann. § 501.008 (Vernon 2003).  At the hearing on the Department's motion
to suppress, the Department argued that appellant was trying to attack a conviction that
he received as a result of a disciplinary case, which could only be accomplished through
a habeas corpus proceeding as opposed to a civil lawsuit brought under Title 42 U.S.C.,
section 1983. (3)  In response, appellant attempted to explain that the proceeding he initiated
was not a lawsuit under section 1983 and that he utilized the grievance procedure in
regards to an appeal and got no favorable results.  At the conclusion of the hearing, the
district court concluded that because appellant had stated that he wanted his good-time
credit back and the disciplinary action taken off his record, his proper recourse was to file
a petition for habeas corpus.  

II. DISCUSSION


	Although appellant alleges that he has an inherent right of appeal from the action
of an administrative agency, he is, in fact, seeking relief from a disciplinary finding which
is a challenge to the fact and duration of his custody. (4)

	If a prisoner challenges a "single allegedly defective hearing," he attacks, in
essence, the fact and duration of his custody.  Whatever the nature of the
relief he seeks for an isolated violation, the prisoner must resort to habeas
corpus and exhaust state remedies.  On the other hand, we have suggested
that "a broad due process challenge" to a prison disciplinary system would
represent a challenge to conditions of confinement, for which, a civil rights
remedy would be available.


Alexander v. Ware, 714 F.2d 416, 419 (5th Cir. 1983).  It is well-settled that if an inmate
wishes to challenge a disciplinary conviction or punishment received while incarcerated,
as in this case, he must file a habeas corpus action in federal court.  See id.; see also
Preiser v. Rodriguez, 411 U.S. 475, 500 (1973) (holding that the sole remedy in federal
court for a prisoner seeking restoration of good-time credit is a writ of habeas corpus); Ex
parte Brager, 704 S.W.2d 46, 46 (Tex. Crim. App. 1986) (en banc) (concluding state courts
will not entertain state habeas actions challenging violations of prison disciplinary
procedures).  We, therefore, conclude appellant did not file his claim in the correct court,
and thus the claim has no arguable basis in law.  See Tex. Civ. Prac. &amp; Rem. Code Ann.
§ 14.003(b)(2) (Vernon 2002).  Since there is no viable claim, we conclude the trial court
did not abuse its discretion when it dismissed appellant's claim.  See id. § 14.003(b).     

	We overrule appellant's issues on appeal.    

III.  CONCLUSION

	The judgment of the trial court is affirmed.  


					 /s/ ROGELIO VALDEZ 

					ROGELIO VALDEZ,

					Chief Justice




Memorandum Opinion delivered and filed 

this the 13th day of March, 2008.
1.   See Jackson v. Tex. Dep't of Crim. Justice-Inst. Div., 28 S.W.3d 811, 813 (Tex. App.-Corpus Christi
2000, pet. denied) (providing that the proper standard of review for the dismissal of a frivolous claim pursuant
to chapter fourteen is abuse of discretion).  
2.   As a result of the disciplinary action, appellant received a reprimand which caused him to lose thirty
days of good-conduct time. 
3.   In addition, the Department argued that appellant could not bring a suit against it under Title 42
U.S.C., section 1983 because it is not a "person" as contemplated by section 1983.  See Retzlaff v. Tex. Dep't
of Crim. Justice, 135 S.W.3d 731, 744 (Tex. App-Houston [1st Dist.] 2003, no pet.) (citing Denson v. T.D.C.J.-I.D., 63 S.W.3d 454, 461 (Tex. App.-Tyler 1999, pet. denied) (stating the Department is not a "person" who
can be sued under section 1983)).  Given the disposition of this appeal, we need not address this argument. 
See Tex. R. App. P. 47.1.   
4.   Appellant's petition states,  "[t]he finding of guilt was not supported by substantial evidence or facts
which would allow the agency's decision to stand, that the Petitioner possessed an alcoholic beverage
because there was no expert testimony or tests conducted that can conclude [sic] an inference that the
Petitioner possessed an alcoholic beverage."  


